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 8
                                UNITED STATES DISTRICT COURT
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                          SOUTHERN DISTRICT OF CALIFORNIA
10
                                               SAN DIEGO
11
     WI-LAN INC.,                                 )   No. 3:14-cv-1507-DMS-BLM; (Lead Case
12                                                )
                                  Plaintiff,      )   No. 3:14-cv-2235-DMS-BLM)
13                                                )   DEMAND FOR JURY TRIAL
           vs.                                    )
14
                                                  )   WI-LAN’S OBJECTIONS TO
     APPLE INC.,                                  )
15                                                    OPINIONS OF LANCE GUNDERSON
                                  Defendant.      )
16                                                )
                                                  )
17                                                )   Trial: July 23, 2018
                                                  )   Time: 9:00 a.m.
18                                                )
                                                  )   Department: 13A
19                                                )   Judge: Hon. Dana M. Sabraw
20
                                                  )   Magistrate: Hon. Barbara L. Major
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     WI-LAN’S OBJECTIONS TO OPINIONS OF
                                                                  Case No. 3:14-cv-01507-DMS-BLM
     GUNDERSON
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 1         In order to avoid disrupting the presentation of evidence at trial with multiple
 2   preservation objections, Wi-LAN Inc. (“Wi-LAN”) respectfully submits for the record
 3   the following written objections to the expected testimony of the expert opinions of
 4   Lance Gunderson. Mr. Gunderson is expected to proffer unscientific, unsupported
 5   and/or irrelevant expert testimony on: (A) Economics and Surveys, despite lacking
 6   relevant expert qualifications; (B) Royalty Stacking, despite basing his opinion on zero
 7   competent evidence of royalty stacking in this case; (C) Patent Counting, performing
 8   arbitrary arithmetic using Apple’s approach to licensing standard essential patents
 9   (SEPs); (D) Unhelpful Licenses, despite failing to account for technological and
10   economic differences between them and the September 2014 hypothetical negotiation;
11   (E) Irrelevant Events, solely meant to inject irrelevant, confusing, and distracting
12   issues that have no relevance to the determination of damages; and (F) Non-Infringing
13   Alternatives (“NIAs”) analysis, based on speculative lay opinions. Therefore, Mr.
14   Gunderson’s testimony should not be admitted for the reasons stated in Wi-LAN’s
15   Daubert and motion in limine briefing under Federal Rules of Evidence 401, 402, 403,
16   701 and 702 (ECF No. 328 at 13-23, 23-35; ECF No. 384 at 5-10, 10-15; ECF No. 415
17   at 8-12; ECF No. 422 at 1-7).
18         First, even though Mr. Gunderson readily admits that he is not a survey expert,
19   and demonstrably lacks qualifications on economics and survey analysis based on his
20   inability to answer basic questions about market analysis, Mr. Gunderson criticizes the
21   opinions of Wi-LAN experts David Kennedy and Prof. Jeffrey Prince, regarding the
22   amount of profit from the accused devices that Apple would lose were it not to use the
23   technologies taught by the patents-in-suit. (ECF No. 328 at 23-25.) Indeed, with
24   respect to Prof. Prince’s expert report, analyzing the results of the choice-based
25   conjoint (CBC) study measuring the value of the technologies taught by the patents-in-
26   suit to smartphone owners, Mr. Gunderson
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 1         Second, Mr. Gunderson is expected to testify about “royalty stacking” concerns
 2   about a putative LTE royalty stack, despite the lack of competent evidence of royalty
 3   stacking in this case. See Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1234 (Fed.
 4   Cir. 2014). Mr. Gunderson’s anticipated testimony on the putative LTE stack is that
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 8                                       However, Mr. Gunderson admits
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10                                                                                                 See
11   CSIRO v. Cisco Sys., Inc., 809 F.3d 1295, 1302 (Fed. Cir. 2015) (“[A]bstract
12   recitations of royalty stacking theory, and qualitative testimony that an invention is
13   valuable—without     being   anchored     to     a   quantitative     market     valuation—are
14   insufficiently reliable.”); see generally Dep’t of Toxic Substances Control v.
15   Technichem, Inc., No. 12-CV-05845-VC, 2016 WL 1029463, at *1 (N.D. Cal. Mar. 15,
16   2016) (“When he is not simply speculating, [defendants’ expert] often does no more
17   than regurgitate information given to him by other sources (including self-serving
18   assertions by the defendants).”).
19         Third, using Apple’s professed SEP licensing framework without any analysis as
20   to its applicability to the patents-in-suit, Mr. Gunderson divides the margin
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23                                                                                  See, e.g., Golden
24   Bridge Tech. v. Apple Inc., No. 5:12-cv-04882-PSG, 2014 WL 2194501, at *6 (N.D.
25   Cal. May 18, 2014); In re Innovatio IP Ventures, LLC Patent Litig., No. 11 C 9308,
26   2013 WL 5593609, at *10 (N.D. Ill. Oct. 3, 2013) (“the court notes that it is not
27   appropriate to determine the value of the non-asserted standard-essential patents based
28   merely on numbers. If a patent holder owns ten out of a hundred patents essential to a
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 1   given standard, it does not automatically mean that it contributes 10% of the value of
 2   the standard.”). Mr. Gunderson’s recitation of these figures—
 3                         —is supported only by one Apple employee’s “say-so,” which
 4   fails to satisfy the level of rigor required by Rule 702(b). (ECF No. 328 at 27-29.)
 5   Further, Mr. Gunderson likely will apply this arbitrary patent counting exercise to a
 6   number of Apple and Wi-LAN lump sum licenses, which is unsupportable for
 7   calculating royalty because it ignores the fact that different patents have different
 8   values. ResQNet.com, Inc. v. Lansa, Inc., 828 F. Supp. 2d 688, 694-95 (S.D.N.Y.
 9   2011); Avago Techs. General IP (Singapore) Pte. Ltd. v. AsusTek Computer Inc., No.
10   3:15-CV-04525-EMC, ECF 367, at 45 (N.D. Cal. Nov. 9, 2016); Limelight Nets., Inc.
11   v. XO Commc’ns, LLC, NO. 3:15-CV-720-JAG, 2018 WL 678245, at *8 (E.D. Va.
12   Feb. 2, 2018).
13         Fourth, Mr. Gunderson fails to meet the stringent requirements set forth by the
14   Federal Circuit in his license comparability analysis of both Wi-LAN licenses under
15   Georgia-Pacific (GP) factor 1 and Apple licenses under GP factor 2. (ECF No. 328 at
16   30-33; ECF No. 384 at 14-15.) See ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d 860,
17   869 (Fed. Cir. 2010) (“This court has long required district courts performing
18   reasonable royalty calculations to exercise vigilance when considering past licenses to
19   technologies other than the patent in suit [for GP 1].”); Lucent Techs., Inc. v. Gateway,
20   Inc., 580 F.3d 1301, 1328 (Fed. Cir. 2009) (explaining that for GP 2 exclusion of a
21   license agreement is warranted where patented technology lacks relationship to
22   licensed technology). Apple does not disagree with the principles set forth in Lucent,
23   580 F.3d at 1328, and ResQNet, 594 F.3d at 870, that experts must explain in detail any
24   comparability analysis for licenses to patents other than the Patents-in-Suit. See M2M
25   Sols. LLC v. Enfora, Inc., 167 F. Supp. 3d 665, 677-79 (D. Del. 2016) (excluding
26   experts’ “ipse dixit” where they made “loose, vague allegations of technological
27   comparability, without any explanation . . . and do not even provide a basis to
28   meaningfully assess technological comparability”). The Federal Circuit has repeatedly
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 1   warned that licenses do not help a jury if they offer “little more than a recitation of
 2   royalty numbers.” Apple, Inc. v. Samsung Elecs. Co., 2013 U.S. Dist. LEXIS 160337,
 3   *47 (N.D. Cal. Nov. 7, 2013) (citing Wordtech Sys., Inc. v. Integrated Networks
 4   Solutions, Inc., 609 F.3d 1308, 1320 (Fed. Cir. 2010); Lucent Techs., Inc. v. Gateway,
 5   Inc., 580 F.3d 1301, 1329 (Fed. Cir. 2009)).
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 8                                                      Additionally, any probative value of
 9   this settlement agreement pre-dating the hypothetical negotiation by over three years is
10   greatly outweighed by the risk of unfair prejudice, confusion of the issues, and
11   misleading the jury, Fed. R. Evid. 403, particularly given the “changing technological
12   and financial landscape in the market” for smartphones. Apple, 2013 U.S. Dist. LEXIS
13   160337, at *48-49 (quoting LaserDynamics, Inc. v. Quanta Computer, Inc., 694 F.3d
14   51, 78 (Fed. Cir. 2012)).
15         Apple disclosed the following slide, which demonstrates Apple’s intent to use
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 2                               Apple further represented that
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 4                                        Those representations were made after the Court
 5   issued its tentative ruling to deny Apple’s motion in limine seeking to exclude
 6   reference to
 7                             As this Court explained, allegations that
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11   If Apple were now permitted to introduce
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13                                                                the FRE 403 balance would
14   then unfairly tipped in Apple’s favor.
15         Fifth, Wi-LAN objects as irrelevant, unfairly prejudicial, and distracting from
16   the issues in this case any gratuitous expert testimony on Wi-LAN CEO James
17   Skippen’s statements regarding the legal environment or challenges being faced by
18   patent holders in enforcing their patents because this would threaten to drag a host of
19   irrelevant, confusing and distracting issues concerning regulatory and judicial
20   developments into this case—Georgia-Pacific does not instruct to value patents
21   depending on how difficult it is to prosecute infringers. Rather, the focus of damages
22   should be on valuing the specific infringement of the Patents-in-Suit via Apple’s
23   Accused Products.
24         Finally, Wi-LAN objects to the anticipated testimony of Mr. Gunderson on
25   Apple’s proffered non-infringing alternatives (NIAs),
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27                                                   Mr. Gunderson solely relies on Apple’s
28   Technical Experts who in turn relied on speculative lay opinions of Messrs. Sebeni and
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 1   Kodali; as such, Mr. Gunderson’s unsupported testimony on these NIAs should be
 2   excluded under Federal Rules of Evidence 701 and 702, and Federal Rule of Civil
 3   Procedure 26 and 37 (ECF No. 328-01 at 13-23; ECF No. 384 at 5-10).
 4

 5   Dated: July 31, 2018                             Respectfully submitted,
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 1                                   PROOF OF SERVICE
 2         I hereby certify that on July 31, 2018, I caused a copy of this pleading to be
 3   delivered via CM/ECF on the counsel of record.
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